                        IN THE SUPREME COURT OF TEXAS


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                                 No. 11-0068
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                        In Re  Sarah Kovich, Relator

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                      On Petition for Writ of Mandamus
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      ORDER

        1. This  case  is  ABATED  pursuant  to  Texas  Rule  of  Appellate
           Procedure 7.2.
      2.    This case is removed  from  this  Court's  active  docket  until
further order of this Court.  The parties shall timely notify this Court  of
all events affecting the status of this case, including when  the  successor
judge has ruled  in  accordance  with  Texas  Rule  of  Appellate  Procedure
7.2(b).  The parties shall file either  a  status  report  or  a  motion  to
dismiss by April 4, 2011.

      Done at the City of Austin, this 3rd day of February, 2011.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




